Case 1:21-cv-07957-LAK   Document 94-10   Filed 06/30/23   Page 1 of 5




  EXHIBIT 90
   •                                      •
                                                            •
    Case 1:21-cv-07957-LAK      Document 94-10                  Filed 06/30/23                  Page 2 of 5




                                                                                 i ~w
•
                                                                                 i       DEFENDANT'S



                     Sl!PR,Ett; COURT OF THE STATE QI 11::W YOR.it

                                     COUlffY QF IEW Y~
                     •   • •   • •    • •   • •     •   • •    • • •      • •        -    • •   •X

                     JOSE PK H. S Il«)N,

                                                               Pl.al.Dt1ff,
                                            •aga1nat•                                           ...
                                                                                                .

                     MARTIN GOOl)M#.!I tmd J£AN COCl»Wf, lo•
                     d1v1dua11y, and d / b/ a Ni\CAZUE KANACE•
                     )£!ff COMPAN'i, IQV.NTS Fll..MS, lMC, , RXO
                     CEl£llAL, INC., and WESTON ICllCIWIDLS UIC
                     Cal.P. ,

                                                              Dafendanu •
                     • - • • - • • • • • • • • • • • • • • • •x




•
                                                                            375 Park Avenue,
                                                                            Ne\l York , N. y •

                                                                            December 14, 1967,
                                                                            2:00 p,aa.

                                        E:XAMlNATION BE:FCIII TRIAL of !WlTlN GOOl»Wf,

                               • de f endant h•~1n, ta.ken by ch a ple1nt1ff
                               pursuAnt co notice dat.a d Novembe-c 16, 1967
                               and et1putac1on1 becwen counsel, befol:9 a
                               llot u7 PubUc of the £Cate of New Yo-ck,


                                     RAYVID REPORTING SERVICE
                                       C a•nrl&O S-T'IHOT'TP-1 A.a..--ot1ftfla
                                               IM   ··••av SfflCff
                                              NSW YQfl., Jt, T. IOO N




•
                                                                                                       MARVEL 002173




                                                                                                       2021 MARVEL-00411 65
    Case 1:21-cv-07957-LAK            Document 94-10         Filed 06/30/23   Page 3 of 5

                     I                                 Goodee,                                5




•
                    l        orlglna1 ona va• Newetand Pub11catl.oo, Tl•ly Comic•
                    3        and then, may hava beeo another but I can't recall.
                    4                     Ill.. BR.AI.NAD:    I would lllte the record to
                    s             ahow tbat w ha ve auppllad a ll•t of the corpora•
                    6             tlons part l c: lpatlng 1D thU pub1Uh1ng bua1neu



                                                                              -
                    7             tn our bill of partlcuUn u abowo 1n tboee
                 8                record• vhtcb are nov available to you.
                    9.            Q       Wben was Captal.DAIDerlca first pub11ahad?
                10       A        All near •• I can recall the early pert of 1940.

                                               publlahed lt?
                2        A        One          corporat Lona.
               ll

                         A                                   one.
                s                 Q

               '16)      righted?

               a                      would beUeve 10,


                9        A        Under cha corporec 10        that
               20                 Q      What 1a t he name of t he cor pora c1on?
               21        A        1 don't know offhand.
               2l                Q       Whan, la the c:opyrlghc?
               lJ                        !ti.. BR.AIIIAO:    Exc:uae me , could you cxplatn
               24                what you aaeao ?
               15                        Hi. R.EISKLND :     Reg1scrac1on of copyrlghc.




•
                                                                                  MARVEL 002177




                                                                                    2021 MARVEL-00411 69
    Case 1:21-cv-07957-LAK   Document 94-10      Filed 06/30/23   Page 4 of 5


                                           ll~ll.

                         mm•                                                    1 .. 1.,
                         lllrtU 0112 a                                             4S




                         PLUJIUff'I 1'QI
                         pqtptt:t"°"
                               1           Littff ..tetl J a ~ t. 1M1.


                               ,
                               I           llftb •f .,_lu..
                                           Dra     at ntltl--' S.t , ..le 1.
                               4           Cwitawt . .ted , . . . _ 17,
                                           1'43.
                                                                                  ''
-
.




-
                                                                         MA RVEL 002264




                                                                         2021MARVEL-0041263
              Case 1:21-cv-07957-LAK     Document 94-10           Filed 06/30/23                   Page 5 of 5

                                                                                                                         101




•
                              1
                                   sun a, 11111 'mU             >
                             2
                                                                ) ss,
                                   c.wWtt a, aw t'C8I           >
                             '                          c:EilI'D'tcm or mom;•
                             •
                                                l, RDIIMAJI IOSElf, a Stenoc,pe a.,orta aad
                             '
                             6     Rotary PUbl1c vf.tb.f.A and for cbe Stau ~t ICft York, do

                             7
                                   lleftb7 cenU7 tblt t1ia within cOGtiDIMHI eaadution
    ...... ·-- ,.   '
                             8     befon · tr:l.al ill tba Matter of St.la . .lf.aat aoa ts                              et al,

                             9.    waa beld OIi Jan\lllry 19, 1968, at 101,0 A. k,, at tlle

                            10     offi.ceo of l'r'Uod • "lelaldnd, Eaqa., 375 Park'"-•

                            -IL
                                   1'.., York, few York, a1td faithfully a1td S..,.rtiall7 'NI•

                            12
                                   corded ltellOgrllphi.caU:, tbo                    ••id queet10ftl, an.,..n aad
                            13     colloquy.

                            H
                                                I further certify that after nid n.ndJ!atioll

                            IS     before tru1 ,,., rocordH 1tenograpbiu1ly bJ •• ••

                            16
                                   rocluced to t:n,evriting under-, eupervf.1100 and banb7

                            17     1111:ait that the vitbf.n                             of ..u n.awJ.utloa baton

                            18
                                   trul la truo and accurate, to tbe bHt of -, abl11t,.
                                                                                        ....
                            19                  I further cen:if:, tMt I •• not a relatlw
                            10     nor an atton., for tbe vithin partiH coon«ted with

                            21     tho                 examination before trial, aor otlwrvi••

                            22     i.lltenated in the tHtimoa,- of the vitneu MARrIR COOmlAR,

                            13     a defendant hentn.

                            H                                       :.. "'!..,.. .
                                                                 , ,~,r... /( ..
                            2S

                                                                ·•YVJO lltl,.OII TUIIO •&IIVIC-C
                                                1 SO   -··••v•T~ 1,11w TO llt. , " · T, 100, • • COa-••· , ... ,.,




                                                                                                                     MARVEL 002265




                                                                                                                2021 MARVEL-0041264
